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SO ORDERED.

SIGNED this 12 day of November, 2019.




                                                    James P. Smith
                                          Chief United States Bankruptcy Judge



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF GEORGIA
                                      ATHENS DIVISION


             In the Matter of:            :                   Chapter 7
             MARGO ANGELA JIMENEZ,        :                   Case No. 19-30018-JPS
                               Debtor     :
                                          :
             FIDELITY BANK,               :
                            Plaintiff     :
             vs.                          :
                                          :                   Adversary Proceeding
             MARGO ANGELA JIMENEZ, et al. :                   No. 19-3009, 19-3015 and 19-3016
                            Defendants :                      (Consolidated)
                          ORDER SCHEDULING STATUS CONFERENCE

             A status conference is hereby scheduled in this case for the 10th day of February 2020,

     at 2:30 p.m. in the United States Bankruptcy Court, Courtroom A, 433 Cherry Street, Macon,

     Georgia; said status conference is to be conducted via conference call and counsel should contact

     Ms. Rhonda Thomas at 478-749-6813 no later than 2 business days prior to said status

     conference to make necessary arrangements.

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